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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF RHODE ISLAND
JOYCE LABOSSIERE


VS.                                                         CA NO: 1:18-00416-JJM-LDA


CHARTERCARE HEALTH PARTNERS Alias In Its Capacity as Plan Administrator of the
Employee Term Life, Accidental Death and Dismemberment and Dependents Terms Life
Coverage for Employees of CharterCARE Health Partners, Alias, EMPLOYEE TERM LIFE,
ACCIDENTAL DEATH AND DISMEMBERMENT AND DEPENDENTS TERMS LIFE
COVERAGE FOR EMPLOYEES OF CHARTERCARE HEALTH PARTNERS, Alias, and
UNITED HEALTHCARE INSURANCE COMPANY d/b/a Uniamerica Insurance Company
Alias

                                DISMISSAL STIPULATION


       All claims dismissed with prejudice, no interest, no costs.

Plaintiff                                    Defendant
By her Attorneys,                            By its Attorneys
Law Office of Mark B. Morse, LLC             Robinson & Cole LLP

/s/ Mark B. Morse                            /s/ Dana Horton
________________                             _________________________
Mark B. Morse                                Dana Horton
RI Bar Reg No 3003                           RI Bar Reg No
420 Angell Street, Suite 2                   One Financial Plaza, Suite 1430
Providence, RI 02906                         Providence, RI 02903
(401) 831-0555                               (401) 709-3300
fax (401) 273-0937                           Fax: (401) 709-3399
\mark@morselawoffice.com


CERTIFICATE OF SERVICE

Michael H. Bernstein
(Admitted Pro Hac Vice)
ROBINSON & COLE LLP
666 Third Avenue, 20th Floor
New York, New York 10017
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Dana M. Horton
ROBINSON & COLE LLP
One Financial Plaza, Suite 1430
Providence, Rhode Island 02903

I hereby certify that a true copy of the within was transmitted through the ECF system of the
United States District Court, D.R.I. to the abovenamed.

DATE: November 5, 2019                                     /s/ Mark B. Morse
